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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



IN RE: ETHICON PHYSIOMESH
FLEXIBLE COMPOSITE HERNIA MESH PRODUCTS MDL No.: 2782
LIABILITY LITIGATION,

This Document Relates To:                                      Master Docket Case No.:
                                                               1:17-md-02782-RWS
Scott v. Johnson & Johnson et al.
Case No.: 1:17-cv-02528-RWS                                    Honorable Richard W. Story


                          MOTION TO WITHDRAW AS COUNSEL


       Andrew S. Golub, pursuant to Local Rule 83.1B, now files this Motion to Withdraw as

Counsel for Sharon Scott (“Plaintiff”) and to be removed from the Notification of Electronic

Filing List in the above styled matter. In support, Mr. Golub states that he was engaged as local

counsel for Ms. Scott to facilitate the suit’s filing in the U.S. District Court for the Southern

District of Texas. Following the suit’s filing, it was transferred to this Court as part of a multi-

district litigation proceeding. Plaintiff will continue to be represented by W. Todd Harvey, Peter

H. Burke, and Amanda H. Schafner.

       Accordingly, Mr. Golub respectfully requests that the Court enter the attached Order

permitting his withdrawal as counsel for Ms. Scott in this proceeding.



                                               Respectfully submitted,


                                       By:      /s/ Andrew S. Gloub
                                               Andrew S .Golub
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                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing Motion to Withdraw has
been forwarded to all counsel of record via electronic filing pursuant to Federal Rules of
Procedures on this the 15th day of August, 2017.



                                             /s/ Andrew S. Golub
                                             Andrew S. Golub
